        Case 2:18-mj-08181-PCL Document 1 Filed 01/29/18 PageID.1 Page 1 of 4

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                                UNITED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,
                                                     Case No.:   '18 MJ8181
10                                                   COMPLAINT FOR VIOLATION OF
                                   Plaintiff,
11
            V.                                       Title 18, U.S.C., Section 1546(a)
12                                                   Misuse of Entry Document
13     Julio Cesar PARRA-De La Torre,
14
                                  Defendant.
15
16
     The undersigned complainant being duly sworn states:
17
18         On or about January 29, 2018, within the Southern District of California, defendant,

19 Julio Cesar PARRA-De La Torre, when applying for entry into the United States, did
20
     knowingly use, attempt to use, and possess a document prescribed by statute or regulation
21
22 for entry into or as evidence of authorized stay or employment in the United States, namely,

23 an 1-5 51, United States Permanent Resident Card, bearing the name and biographical
24
     information of another, knowing it to have been forged, counterfeited, altered, falsely made
25
26 or otherwise unlawfully obtained, in order to gain admission into the United States; in

27 violation of Title 18, United States Code, Section 1546(a).
28
        Case 2:18-mj-08181-PCL Document 1 Filed 01/29/18 PageID.2 Page 2 of 4


          And the complainant states that this complaint is based on the attached Statement of
 1
 2 Facts, which is incorporated herein by reference.
 3
 4
 5
                                            11}.~@?:
                                          Margarita Carter Enforcement Officer
 6                                        U.S. Customs and Border Protection
 7
          SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 29th
 8
 9 DAY OF JANUARY, 2018.
10
11
12                                        HON. PETER C.
                                          UNITED STATES MAGISTRATE JUDGE
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            Case 2:18-mj-08181-PCL Document 1 Filed 01/29/18 PageID.3 Page 3 of 4
         ROSARIO T GONZAI   r!-
     .      ,,~,,.


 l UNITED STATES OF AMERICA
                   v.
 2 Julio Cesar PARRA-De La Torre
 3
 4                                   STATEMENT OF FACTS
 5
              The complainant states this complaint is based upon the investigative report of
 6
     Customs and Border Protection Officer (CBPO) Maria Kinder that defendant, Julio Cesar
 7
 8 PARRA-De La Torre (PARRA), attempted to enter the United States at the Calexico,
 9
     California West Port of Entry on January 29, 2018.
10
11            On January 29, 2018, at approximately 1:28 a.m., defendant, PARRA applied for

12 admission into the United States from Mexico at the Calexico, California West Port of
13
     Entry through Pedestrian Primary. Upon inspection before United States Customs and
14
15 Border Protection (CBP) Officer Jonathan Rodriguez, PARRA presented an 1-551 Legal

16 Permanent Resident card, bearing the name of J.E.P. CBP Officer Rodriguez suspected
17
     PARRA was an imposter to the document presented. CBP Officer Rodriguez referred
18
19 PARRA to the pedestrian secondary office for further inspection.

20            During secondary inspection, record checks were conducted revealing PARRA had
21
     previous immigration violations.    Records confirmed PARRA is an alien, a native and
22
23 citizen of Mexico with no legal documents to enter, pass through, reside, or be legally

24 employed in the United States.
25
              PARRA was advised of his Miranda rights to which he stated he understood and
26
27 would answer question without an attorney present. PARRA stated he purchased the

28 document from an unknown document vender in Mexicali, Baja California, Mexico paying

                                                 3
         Case 2:18-mj-08181-PCL Document 1 Filed 01/29/18 PageID.4 Page 4 of 4


     $200.00 dollars for the purpose of illegally entering the United States. PARRA stated he
 1
 2 wanted to travel to Los Angeles, California to seek employment.
 3
           PARRA fingerprints were queried through the Integrated Automated Fingerprint
 4
 5 Identification System (IAFIS) with results revealing PARRA was previously ordered
 6 removed by Border Patrol on January 24, 2018. Records contain no evidence PARRA is
 7
     in possession of any legal documents allowing his entry into the United States.
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